      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 1 of 22



                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         NORTHERN DIVISION


ROY HARNESS,
KAMAL KARRIEM,
and GABRIELLE JONES,

             Plaintiffs

v.                                                        3:17-CV-791-DPJ-FKB
                                       Civil Action No. ___________________

DELBERT HOSEMANN, Secretary of State
of Mississippi,

             Defendant


       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      1.     This is a challenge to certain portions of Section 241 of the

Mississippi Constitution of 1890 that list specific crimes that were set forth in 1890

as crimes that forever disqualify a citizen from voting. That 1890 list of crimes is

the last remaining vestige of the infamous plan by the framers of that Constitution

to rob African-Americans of the right to vote that they attained after slavery was

abolished in the aftermath of the Civil War.

      2.     A number of methods of African-American voter suppression were

adopted by the framers of the 1890 Constitution, including literacy tests and poll

taxes. One of those tools was contained in Section 241. That section provided ---

and still provides today --- that “[e]very inhabitant of this state, except idiots and
                                          1
      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 2 of 22



insane persons, who is a citizen of the United States of America” and who meets

the age requirement (previously 21 and now 18) and residency requirement and is

duly registered “is declared to be a qualified elector” except for those who have

been convicted of certain specific criminal offenses. The offenses set forth in 1890

were those that the drafters believed were committed disproportionately by

African-Americans.    As stated by the Mississippi Supreme Court six years later,

the 1890 convention “swept the circle of expedience to obstruct the franchise by

the negro race” by targeting “the offenses to which its weaker members were

prone.” Ratliff v. Beale, 20 So. 863, 868 (1896).

      3.    The disqualifying crimes adopted as part of Section 241 in 1890 that

are still in effect today are “bribery, theft, arson, obtaining money or goods under

false pretense, perjury, forgery, embezzlement [and] bigamy.” Burglary was in the

original list but was removed in 1950 by constitutional amendment. Murder and

rape were added by constitutional amendment in 1968. This lawsuit seeks to

nullify and strike only those crimes in the original list. It does not challenge the

use of murder and rape as disqualifying crimes.

      4.    In 1998, the United States Court of Appeals for the Fifth Circuit held

that the 1950 and 1968 amendments constituted a “re-enactment” of the original

list in § 241 by which “a majority of the voters had to approve the entire

provision,” and that this “re-enactment” removed the discriminatory taint of the


                                         2
      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 3 of 22



original version. The Court also stated that the plaintiff in that case, a prisoner

representing himself, had offered no evidence that the 1950 and 1968 amendments

were themselves tainted by unconstitutional discrimination.         Accordingly, that

Court held that the plaintiff had not proven § 241 to be unconstitutional.      Cotton

v. Fordice, 157 F.3d 388, 391-392 (5th Cir. 1998). Because the plaintiffs here will

present allegations and evidence that were not presented by the pro se plaintiff in

that case on issues that were not briefed by the parties --- including the fact that the

1950 and 1968 amendments were not “re-enactments” of the original list, that the

voters were not called upon to approve or reject the original list, and that the

amendments did not remove the discriminatory taint of the original version --- the

outcome of this case is not governed by that court decision.

                               Jurisdiction and Venue

      5.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal

question) and 1343 (civil rights), and 42 U.S.C. § 1983. Declaratory relief is

authorized by 28 U.S.C. §§ 2201 and 2202.

      6.       Venue is proper under 28 U.S.C. § 1391(b)(1)-(2) as relevant acts and

omissions occurred, and the defendant resides, within the Southern District of

Mississippi.




                                           3
      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 4 of 22



                                      Parties

      7.      Plaintiff Roy Harness was convicted of forgery in 1986 and has

completed his sentence. Earlier this year, at the age of 62, Mr. Harness completed

his baccalaureate degree in Social Work from Jackson State University and was

awarded a scholarship to pursue his Master’s degree. Plaintiff Kamal Karriem, a

former city council member in Columbus, was convicted of embezzlement in 2005

and has completed his sentence. Mr. Karriem is a pastor and is one of the owners

and operators of his family’s restaurant. Plaintiff Gabrielle Jones was convicted of

forgery in 2009 and receiving stolen property in 2013. She has completed her

sentences.

      8.     Defendant Delbert Hosemann is the Secretary of State of Mississippi.

As such, he discharges a number of responsibilities related to voter registration and

determining who is qualified to register and vote. For example, pursuant to Miss.

Code § 23-15-165, the Secretary of State maintains a statewide centralized voter

registration database and insures that the registrar and election commissioners of

each county receive regular reports of death, change of address, and convictions

for disenfranchising crimes that apply to registered voters in each county. The

Secretary of State regularly receives a list of criminal convictions and coordinates

with the counties to insure that no one convicted of one of the disfranchising

crimes is allowed to register and vote. The Secretary of State trains local election


                                          4
      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 5 of 22



officials and assists them in carrying out their responsibilities. He is sued in his

official capacity.

                       Section 241 and the 1890 Convention

      9.     As adopted in 1890, § 241 read as follows:

      Every male inhabitant of this State, except idiots, insane persons and Indians
      not taxed, who is a citizen of the United States, twenty-one years old and
      upwards, who has resided in this State two years, and one year in the
      election district, or in the incorporated city or town, in which he offers to
      vote, and who is duly registered as provided in this article, and who has
      never been convicted of bribery, burglary, theft, arson, obtaining money or
      goods under false pretenses, perjury, forgery, embezzlement or bigamy, and
      who has paid, on or before the first day of February of the year in which he
      shall offer to vote, all taxes which may have been legally required of him,
      and which he has had an opportunity of paying according to law, for the two
      preceding years, and who shall produce to the officers holding the election
      satisfactory evidence that he has paid said taxes, is declared to be a qualified
      elector; but any minister of the gospel in charge of an organized church shall
      be entitled to vote after six months residence in the election district, if
      otherwise qualified.

(Emphasis added).

      10.    As mentioned previously, this otherwise quirky collection of crimes

was    listed in Section 241 because the 1890 framers believed them to be

disproportionately committed by African-Americans and they chose to “obstruct

the franchise by the negro race” by targeting “the offenses to which its weaker

members were prone.” Ratliff v. Beale, 20 So. at 868.

      11.    There were other provisions of the 1890 Constitution that also were

designed to prevent African-Americans from voting. For example, Section 243


                                          5
      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 6 of 22



required payment of a poll tax. This poll tax requirement was later invalidated in

United States v. Mississippi, No. 3791 (S.D. Miss. Mar. 31, 1966), which was

based on Harper v. Virginia Board of Elections, 383 U.S. 663 (1966), and was

formally repealed in 1974.       Section 244 imposed a literacy and understanding

clause. That provision was nullified by the federal Voting Rights Act of 1965 and

was formally repealed in 1975.

      12.     Section 241’s list of disenfranchising crimes was an integral part of

the overall effort to prevent African-Americans in Mississippi from voting:

“Devices used by Mississippi to inhibit black voters include poll taxes, literacy

tests, residency requirements, “good moral character” tests, a disenfranchising

crimes provision, and white primaries.” Mississippi State Chapter, Operation

PUSH v. Mabus, 932 F.2d 400, 402 (5th Cir. 1991) (emphasis added).

                  The 1950 and 1968 Amendments to Section 241

      13.    In 1950, the Mississippi legislature passed a resolution to amend

Section 241 for multiple purposes, including the removal of burglary from the list

of disqualifying crimes.     The first paragraph of the resolution stated:          “A

concurrent resolution to amend Section 241 of the Mississippi Constitution of 1890

so as to provide the qualifications of electors, and amending by providing that the

wife of a minister of the gospel legally residing with him shall be qualified to vote

after a residence of six months in the election district, or incorporated city or town,


                                           6
      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 7 of 22



if otherwise qualified.”    The resolution then stated that the Legislature resolved

“[t]hat the following amendment to the Constitution of the State of Mississippi be

submitted to the qualified voters of the State for ratification or rejection . . . viz:

Amend section 241 of the constitution of the State of Mississippi, so that it shall

read as follows . . . .:”   The text of the proposed Section 241 was then listed

without the crime of burglary included. Miss. Laws 1950 Ch. 569, H. Con. R. 10.

The November 1950 ballot contained the exact same language as the resolution

and was followed by two options from which the voter could select.                “For

Amendment” or “Against Amendment.” At no point did the legislative resolution

or the ballot state that the amendment would affect the list of disqualifying crimes

or that it would remove burglary from the list. While burglary was not included in

the list, neither the resolution nor the ballot explained that it previously was on the

list. More importantly, neither the resolution nor the ballot gave legislators and

voters the option of choosing whether to retain or repeal the remainder of the

original 1890 list of disqualifying crimes.

      14.    In 1968, the Mississippi legislature passed a resolution to amend

Section 241 for multiple purposes, including the addition of murder and rape as

disqualifying crimes. The first paragraph of the resolution stated: “A concurrent

resolution to amend Section 241, Mississippi Constitution of 1890, to provide for

one-year residency within the State and County and a six-month residency within


                                           7
      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 8 of 22



the election precinct to be a qualified elector; to delete certain improper parts of the

Section; and for related purposes.” The resolution then stated that the Legislature

resolved “[t]hat the following amendment to the Constitution of the State of

Mississippi be submitted to the qualified voters of the State for ratification or

rejection . . . viz: Amend section 241 of the constitution of the State of Mississippi,

so that it will read as follows: . . . . ” The text of the proposed Section 241 was

then listed with the crimes murder and rape included.             The resolution also

instructed the Secretary of State to place the resolution on the ballot. Miss. Laws

1968 Ch. 614, H. Con. R. 5.        The June 1968 ballot contained the exact same

language as the resolution and was followed by two options from which the voter

could select. “For the Amendment” or “Against the Amendment.” At no point did

the legislative resolution or the ballot state that the amendment would affect the list

of disqualifying crimes or that it would add murder and rape to the list. While

murder and rape were included in the list, neither the resolution nor the ballot

explained that they were not previously on the list. More importantly, neither the

resolution nor the ballot gave legislators and voters the option of choosing whether

to retain or repeal the other crimes on the list which were part of the original 1890

provision.

      15.    Accordingly, in passing the 1950 and 1968 amendments, neither two-

thirds of the legislature nor a majority of the voters had to approve the entirety of


                                           8
      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 9 of 22



Section 241 or the list of crimes that were originally included in it. They only had

to approve the amendments by voting “for the amendment[s].” Even then, the

amendments were not explained to them. These votes were not re-enactments of

Section 241.

      16.      Moreover, the amendments to the list were not the subject of

discussion in the media. While there were several articles in the daily Clarion-

Ledger in both 1950 and 1968 about proposed constitutional amendments, the only

discussion in those articles regarding amendments to Section 241 related to the

proposed residency requirement for ministers’ wives in 1950 and the proposed

change in the general residency requirement in 1968. There was no mention in

those articles about the list of disqualifying crimes from 1890 or any changes to it.

                                  Cotton v. Fordice

      17.      Cotton v. Fordice was a challenge to Section 241 filed in 1996 by two

prisoners at the Mississippi State Penitentiary at Parchman who represented

themselves: Jarvious Cotton and Keith Brown.          On March 18, 1997, the United

States Magistrate Judge issued a report and recommendation stating that summary

judgment should be granted for the State Defendants. The Magistrate said that the

plaintiffs’ claim that the 1890 constitutional convention targeted crimes that the

framers believed African-Americans were prone to commit was “purely

speculation and conjecture” and that “[t]he Plaintiffs present absolutely no proof


                                          9
     Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 10 of 22



that these facts are true.” Cotton v. Fordice, No. 3:96cv141BN (S.D. Miss. March

18, 1997) Report & Rec. at p. 5. Nothing in the report and recommendation

referred to the 1950 and 1968 amendments to Section 241.        The plaintiffs filed

objections to the report and recommendation. On April 7, 1997, the District Judge

overruled the objections, adopted the report and recommendation, and entered

summary judgment for the State Defendants in a two page order. The order did not

mention the 1950 and 1968 amendments to Section 241.

      18.   The plaintiffs appealed the District Court’s decision in Cotton.

However, Jarvious Cotton’s appeal was severed and dismissed because of issues

relating to prior cases and whether he qualified to proceed in formal pauperis in

the appeal. Nevertheless, both Brown and Cotton listed their names as lay counsel

for Brown in the Fifth Circuit briefing. Neither Brown’s brief or reply brief in the

Fifth Circuit mentioned the 1950 or 1968 amendments to Section 241. The State

Defendants’ Fifth Circuit brief did not mention them either except to say following

after quoting from Ratliff v. Beale: “At the time Ratliff was written, Section 241,

read quite differently than it does today. One of the most important amendments

that concerns this matter is the crimes which result in disenfranchisement upon

conviction. The original 1890 version of Section 241 disenfranchised bribery,

burglary, theft, arson, obtaining money or goods under false pretense, perjury,

forgery, embezzlement and bigamy. Section 241, as it reads today, also includes


                                         10
     Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 11 of 22



murder and rape, but does not mention burglary. The present inclusion of the

violent crimes of murder and rape and the deletion of burglary makes Ratliff

inapplicable to Section 241 as it reads today. Cotton and Brown’s argument that

the discriminatory effect Section 241 may have had when it was enacted over one

hundred years ago makes the section unconstitutional today is without merit.”

Cotton v. Fordice, No. 97-60275 (5th Cir.), Brief for Appellees at p. 10.

      19.    A Fifth Circuit panel affirmed the grant of summary judgment. After

citing Ratliff, the panel said: “Although § 241 was facially neutral and technically

in compliance with the Fourteenth Amendment, the state was motivated by a desire

to discriminate against blacks.” 157 F.3d at 391. The opinion continued: “Were

this the end of the story, we would be bound by Hunter [v. Underwood, 471 U.S.

222 (1985)], which, construing an Alabama provision of similar age and intent,

held it violative of equal protection. Hunter, however, left open the possibility that

by amendment, a facially neutral provision like § 241 might overcome its odious

origin. That is what has happened here.” 157 F.3d at 391 (footnote omitted). The

opinion went on the state that burglary was removed in 1950, that murder and rape

(which were not considered “black” crimes in 1890) were added in 1968, that the

amendments were “a deliberative process,” that two-thirds of each house had to

approve them to put them on the ballot, that the Secretary of State was required to

publish a full text version of the proposed revised provision within two weeks of


                                         11
     Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 12 of 22



the election, and that “a majority of the voters had to approve the entire provision,

including the revision.” Id. “Because Mississippi’s procedure resulted both in

1950 and 1968 in a re-enactment of § 241, each amendment superseded the

previous provision and removed the discriminatory taint associated with the

original version.” Id. (footnote omitted).

      20.    Neither the ballot language nor the language of the concurrent

legislative resolutions were introduced into the record in Cotton v. Fordice or

discussed in the briefs or the opinion. As stated earlier in this Complaint, neither

the ballot language nor the language of the resolutions explained that the

amendments would affect the list of disqualifying crimes, much less explain how

they would affect it. More importantly, neither the resolutions nor the ballots gave

legislators and voters the option of re-enacting or repealing the remainder of the

original list of disqualifying crimes.

      21.    Thus, as mentioned previously, in both 1950 and 1968, neither two-

thirds of the legislature nor a majority of the voters had to approve the entirety of

Section 241 or the list of crimes that were originally included in it. At most, they

had to approve the amendments by voting “for the amendment[s]” and even those

were not explained to them. These votes were not re-enactments of Section 241.

The Fifth Circuit’s determinations otherwise were wrong as a factual matter.




                                         12
     Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 13 of 22



Those determinations were not based on a record, briefing, or argument that

addressed the issue.

      22.    After erroneously stating that “voters had to approve the entire

revision” and that “Mississippi’s procedure resulted both in 1950 and 1968 in a re-

enactment of § 241,” thus “remov[ing] the discriminatory taint associated with the

original version,” 157 F.3d at 391, the panel added the following: “Viewed in this

light, § 241 as it presently exists is unconstitutional only if the amendments were

adopted out of a desire to discriminate against blacks. See Hunter, 471 U.S. at

228. Brown has offered no such proof regarding the current version of § 241; he

relies exclusively on the now-irrelevant admission in Ratliff that the original

version of § 241 was adopted for the purpose of discriminating against blacks.”

157 F.3d at 392.

                               Discriminatory Intent

      23.    To summarize, the list of disqualifying crimes adopted in 1890 that

remains in § 241 today (with the exception of burglary) was chosen by the 1890

framers with the intent to discriminate against African-Americans and prevent

them from voting. It is a vestige of the doctrine of white supremacy. Nothing in

any subsequent amendment to § 241 “re-enacted” or “approved” that list or

removed the discriminatory taint of the original provision.




                                         13
     Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 14 of 22



       24.     Alternatively, even if the 1950 and 1968 amendments somehow had

“re-enacted” or “approved” the original list, those amendments deliberately

maintained a discriminatory provision of the 1890 constitution that has always

been recognized as having been adopted for the purpose of preventing black people

from voting.     Moreover, the 1950 amendment was adopted when the legislature

was all-white and the electorate was almost all-white. Although burglary was

removed, the rest of the list remained intact without change. The 1968 amendment

was adopted when there was only one black member of the Mississippi legislature.

The only reason he was there, and the only reason the electorate included some

black voters, was the passage by the United States Congress of the Voting Rights

Act of 1965.     While murder and rape were added, the 1968 amendment did not

change the rest of the list.

       25.     The 1950 and 1968 amendments occurred in times of extensive racial

discrimination and massive resistance by all levels of Mississippi government, and

by most of the white populace, to desegregation. In 1950, Pauli Murray published

her extensive survey, States Laws on Race and Color (1950) (Davison Douglas ed.,

reprint 1997), which documented Mississippi’s laws requiring segregation

throughout society, including in hospitals, railway, prisons, schools (including the

school for the blind).     As the Fifth Circuit stated in 1963:     “[T]he State of

Mississippi has a steel-hard, inflexible, undeviating official policy of segregation.


                                         14
      Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 15 of 22



The policy is stated in its laws. It is rooted in custom.” United States v. City of

Jackson, 318 F.2d 1, 5 (5th Cir. 1963). As late as 1973, the “Mississippi highway

patrol has never in its history employed a member of the Negro race as a sworn

officer.” Morrow v. Crisler, 479 F.2d 960, 961-961 (5th Cir. 1973). The Supreme

Court noted in 1971 that “State legislatures and political party committees in

Alabama and Mississippi have adopted laws or rules since the passage of the

[Voting Rights Act of 1965] which have had the purpose or effect of diluting the

votes of newly enfranchised Negro voters.” Perkins v. Matthews, 400 U.S. 379,

389 (1971) (citation omitted).1

       26.     Consistent with this resistance to racial equality, the legislatures that

sat in 1950 and 1968 failed to repeal the extensive structure of discriminatory

legislation that existed and took steps to add to it.                 For example, the 1950

legislature (which was elected in 1947 and held sessions in 1948 and 1950) passed

legislation to fortify segregation in secondary education, higher education, prisons,

reform schools, and 4-H clubs for young people. It also passed a number of

resolutions in defense of racial discrimination. Soon after that legislature was

elected in 1947, Governor Fielding Wright claimed in his inaugural address that

proposed federal anti-lynching, anti-poll tax, and anti-segregation legislation


1
 This resistance to change and its relevance to the Fifth Circuit’s Cotton holding is discussed in
Gabriel J. Chin, Rehabilitating Unconstitutional Statutes: An Analysis of Cotton v. Fordice, 71
U. of Cinn. L. Rev. 421, 440-452 (2002).
                                                15
         Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 16 of 22



“aimed to wreck the South and our institutions” and called on Mississippians to

“bolt” the national Democratic Party if it moved forward with efforts to pass those

bills.     The Mississippi legislature then passed a resolution praising Wright’s

inaugural address and stating the legislators “join the Governor in the warning

given to leaders of the National Democratic Party and to the nation, that

Mississippians will no longer tolerate these abuses and efforts to destroy the South

and her institutions, and hereby pledge our full support to the Governor in his

efforts to protect and uphold the principles, traditions, and way of life of our

beloved Southland.” Miss. Laws 1948 Ch. 536, H. Con. R. 15. That legislature

subsequently      passed   a   resolution    expressing   vigorous   “opposition   to

recommendations of the President’s Civil Rights Committee”, which had proposed

a federal anti-lynching law, anti-poll tax measures, and a permanent Fair

Employment Practices Commission, claiming those recommendations would lead

to the “subjugation of the majority to the demands of various minority groups, and

not least among these recommendations, certain ones whose effect would be to

deprive the states of their rights with regard to suffrage and elections laws." Miss.

Laws 1948 Ch. 541, H. Con. R. 22.

         27.   Resistance to change was also the theme of the Mississippi legislature

in the years after the 1964 Civil Rights Act and the 1965 Voting Rights Act.

“Mississippi, which was one of the leaders of the black disfranchisement


                                            16
     Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 17 of 22



movement in the South with the ‘Mississippi Plan’ of 1890, once again led the way

with the black vote dilution strategy developed and implemented in Mississippi’s

massive resistance legislative session in 1966. Before the session ended, the all-

white state legislature enacted thirteen major pieces of legislation which racially

altered Mississippi’s election laws and made it more difficult for black candidates

to get elected and for the newly enfranchised black voters to gain representation of

their choice.” Frank R. Parker, Black Votes Count p. 36 (1990).         Many of the

legislators in the 1966 session were re-elected in 1967 and served in the session in

1968. In many ways, they maintained the discrimination of the past. For example,

during the 1968 session, they amended yet maintained many of the discriminatory

laws passed in 1966, including provisions allowing counties to switch from district

to at-large elections of county boards of supervisors and to switch from elected to

appointed school superintendents. Similarly, the 1968 legislature amended a 1964

law authorizing the State to provide financial tuition assistance to students

attending private schools by increasing the amount of assistance available to each

private school student. That law was struck down in 1969 because “[t]he statute,

as amended, encourages, facilitates, and supports the establishment of a system of

private schools operated on a racially segregated basis as an alternative available to

white students seeking to avoid desegregated public schools.” Coffey v. State

Educational Finance Commission, 296 F. Supp. 1389, 1393 (S.D. Miss. 1969)


                                         17
     Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 18 of 22



(three-judge court).   That same legislature served through the 1971 session, when

it passed a state legislative redistricting plan that elected 93% of the House

members and 65% of the Senators from multimember and floterial districts, which

are classic tools for diluting African-American voting strength.

      28.     In many ways, both the 1950 and 1968 legislatures maintained the

racial discrimination of the past and did so intentionally. The failure of the

legislature to repeal the discriminatory 1890 disfranchising crimes list except for

burglary in 1950, and the failure of the legislature to repeal any of the

discriminatory list in 1968, was the result of intentional discrimination.      As

mentioned previously, the 1950 electorate was almost all-white.         The 1968

electorate contained some African-Americans, but the white majority almost

uniformly refused to vote for African-American candidates, and therefore could

not be relied upon to support ballot measures that would lessen racial

discrimination. “[B]arriers to black electoral success [in the 1967 state and local

elections] included racial bloc voting by whites, who generally refused to vote for

black candidates.”     Parker, Black Votes Count p. 76.       The 1950 and 1968

amendments did not remove the discriminatory taint from the actions of the 1890

constitutional convention.




                                         18
     Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 19 of 22



                            Application of Section 241

      29.   The Mississippi Attorney General’s Office has concluded that the

word “theft” in Section 241 encompasses a number of crimes, including receiving

stolen property, felon shoplifting, multiple types of larceny, unlawful taking of a

motor vehicle, extortion, carjacking, robbery, and armed robbery. He also has

concluded that the term “false pretenses” in Section 241 includes the crime of

felony bad check. Thus, people convicted of those subsidiary crimes have also

been deemed to be disfranchised and are not allowed to vote.

                              Discriminatory Impact

      30.   The disqualification of people convicted of the crimes that were listed

in Section 241 in 1890 and that remain in Section 241 today, and their subsidiary

crimes, has a discriminatory impact. For example, according to the 2010 census,

35% of Mississippi’s population 18 and over is African-American. Approximately

60% of the people convicted of those disqualifying crimes in the Mississippi state

courts between 1994 and the present are African-American.

                  Removing the 1890 Discrimination from Section 241

      31.   At present, Section 241 reads as follows:

      Every inhabitant of this state, except idiots and insane persons, who is
      a citizen of the United States of America, eighteen (18) years old and
      upward, who has been a resident of this state for one (1) year, and for
      one (1) year in the county in which he offers to vote, and for six (6)
      months in the election precinct or in the incorporated city or town in
      which he offers to vote, and who is duly registered as provided in this
                                        19
     Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 20 of 22



      article, and who has never been convicted of murder, rape, bribery,
      theft, arson, obtaining money or goods under false pretense, perjury,
      forgery, embezzlement or bigamy, is declared to be a qualified
      elector, except that he shall be qualified to vote for President and Vice
      President of the United States if he meets the requirements established
      by Congress therefor and is otherwise a qualified elector.

In order to remove the unconstitutional 1890 discrimination from Section 241, the

words “bribery, theft, arson, obtaining money or goods under false pretense,

perjury, forgery, embezzlement or bigamy,” which were in the original 1890

version, must be nullified so that they no longer have any force or effect. The

Defendant, his agents, and all acting in concert withhim must be enjoined from

preventing people convicted of those crimes from voting.          The disqualifying

crimes that remain will be murder and rape.

                                     Violations

      32.   The disqualification of Mississippians from voting based on

convictions for “bribery, theft, arson, obtaining money or goods under false

pretense, perjury, forgery, embezzlement or bigamy,” and all subsidiary crimes

that have been determined to fit within those terms for purposes of

disenfranchisement, is a violation of the Equal Protection clause of the Fourteenth

Amendment to the United States Constitution.

                                       Relief

      33.   This Court should declare that the disqualification of Mississippians

from voting based on convictions for "bribery, theft, arson, obtaining money or
                                         20
       Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 21 of 22



goods under false pretense, perjury, forgery, embezzlement or bigamy," and all

subsidiary crimes that have been determined to fit within those terms for purposes

of disenfranchisement, is a violation of the Equal Protection clause of the

Fourteenth Amendment to the United States Constitution.

       34.    The Court should enjoin the Defendant, his agents, and all acting in

concert with them from taking any steps to prevent Mississippians from registering

and voting because they were convicted of “bribery, theft, arson, obtaining money

or goods under false pretense, perjury, forgery, embezzlement or bigamy,” or were

convicted of any of the subsidiary crimes that have been determined to fit within

those terms for purposes of disfranchisement, and should further nullify and enjoin

them     from giving any force and effect to the words “bribery, theft, arson,

obtaining money or goods under false pretense, perjury, forgery, embezzlement or

bigamy” in Section 241 of the Mississippi Constitution.

       35.   The Court should grant the Plaintiffs their costs, expenses, attorneys’

fees, and such other relief to which they may be entitled.




                                         21
    Case 3:17-cv-00791-DPJ-FKB Document 1 Filed 09/28/17 Page 22 of 22



                                         Respectfully submitted,



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                                    22
